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UNITED STATES DISTRICT COURT ; - —
FOR THE DISTRICT OF COLUMBIA JUN 16 2021

Holding a Criminal Term

Clerk, U.S. District and
Bankruptcy Courts

Grand Jury Sworn in on January 8, 2021

UNITED STATES OF AMERICA
Vv.

PATRICK E. MCCAUGHEY III,
(Counts 11, 19, 20, 24, 25, 27, 32,36, 37)

TRISTAN CHANDLER STEVENS,
(Counts 11, 13, 16, 23, 24, 25, 26,31, 36,
37)

DAVID LEE JUDD,
(Counts 13, 17, 23, 24, 25, 28, 33,36, 37)

CHRISTOPHER JOSEPH QUAGLIN,
(Counts 1,2, 3, 4, 10, 18, 21, 24, 25,29, 34,
36,37)

ROBERT MORSS, and
(Counts 5, 6, 9, 15, 22, 24, 25, 36,37)

GEOFFREY WILLIAM SILLS,
(Counts 7,8, 12, 14, 24, 25, 30,35, 36,37)

Defendants.

CRIMINAL NO. 21-CR-40 (TNM)

MAGISTRATE NO. 21-MJ-198, 21-MJ-
334, 21-MJ-355, 21-MJ-468

GJO: 2021R01414

VIOLATIONS:

18 U.S.C. §§ 111(a)(1), 2

(Assaulting, Resisting, or Impeding
Certain Officers, Aiding and Abetting)
18 U.S.C. § 111(a)(1) and (b)
(inflicting Bodily Injury on Certain
Officers)

18 U.S.C. §§ 2111, 2

(Robbery)

18 U.S.C. § 111(a)(1) and (b)
(Assaulting, Resisting, or Impeding
Certain Officers Using a Dangerous
Weapon)

18 U.S.C. §§ 1512(c)(2), 2
(Obstruction of an Official Proceeding)
18 U.S.C. § 231(a)(3)

(Civil Disorder)

18 U.S.C. § 1752(a)(2) and (b)(1)(A)
(Disorderly and Disruptive Conduct in a
Restricted Building or Grounds with a
Deadly or Dangerous Weapon)

18 U.S.C. § 1752(a)(4) and (b)(1)(A)
(Engaging in Physical Violence in a
Restricted Building or Grounds with a
Deadly or Dangerous Weapon)

40 U.S.C. § 5104(e)(2)(D)

(Disorderly Conduct in

a Capitol Building)

40 U.S.C. § 5104(e)(2)(F)

(Act of Physical Violence in the Capitol
Grounds or Buildings)
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THIRD SUPERSEDING INDICTMENT

The Grand Jury charges that:
COUNT ONE

On or about January 6, 2021, at or around 1:08 p.m., within the District of Columbia,
CHRISTOPHER JOSEPH QUAGLIN did forcibly assault, resist, oppose, impede, intimidate,
and interfere with an officer and employee of the United States, and of any branch of the United
States Government (including any member of the uniformed services), and any person assisting
such an officer and employee, while such officer or employee was engaged in and on account of
the performance of official duties, and where the acts in violation of this section involve physical
contact with the victim and the intent to commit another felony.

(Assaulting, Resisting, or Impeding Certain Officers, in violation of Title 18, United
States Code, Section 111(a)(1))

COUNT TWO

On or about January 6, 2021, at or around 1:11 p.m. to 1:13 p.m., within the District of
Columbia, CHRISTOPHER JOSEPH QUAGLIN did forcibly assault, resist, oppose, impede,
intimidate, and interfere with an officer and employee of the United States, and of any branch of
the United States Government (including any member of the uniformed services), and any person
assisting such an officer and employee, while such officer or employee was engaged in and on
accountof the performance of official duties, and where the acts in violation of this section involve
physical contact with the victim and the intent to commit another felony.

(Assaulting, Resisting, or Impeding Certain Officers, in violation of Title 18, United
States Code, Section 111(a)(1))

COUNT THREE
On or about January 6, 2021, at or around 1:11 p.m. to 1:13 p.m., within the District of

Columbia, CHRISTOPHER JOSEPH QUAGLIN, did forcibly assault, resist, oppose, impede,

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intimidate, interfere and inflict bodily injury on, an officer and employee of the United States, and
of any branch of the United States Government (including any member of the uniformed services),
while such officer or employee was engaged in or on account of the performance of official duties,
that is, T.R., an officer from the United States Capitol Police Department, and where the acts in
violation of this section involve physical contact with the victim and the intent to commit another
felony.

(Inflicting Bodily Injury on Certain Officers, in violation of Title 18, United States
Code, Sections | 11(a)(1) and (b))

COUNT FOUR

On or about January 6, 2021, at or around 1:14 p.m., within the District of Columbia,
CHRISTOPHER J OSEPH QUAGLIN did forcibly assault, resist, oppose, impede, intimidate,
and interfere with an officer and employee of the United States, and of any branch of the United
States Government (including any member of the uniformed services), and any person assisting
such an officer and employee, while such officer or employee was engaged in and on account of
the performance of official duties, and where the acts in violation of this section involve physical
contact with the victim and the intent to commit another felony.

(Assaulting, Resisting, or Impeding Certain Officers and Aiding and Abetting, in
violation of Title 18, United States Code, Section 111(a)(1) and 2)

COUNT FIVE
On or about January 6, 2021, at or around 2:09 p.m., within the special maritime and
territorial jurisdiction of the United States, ROBERT MORSS, did by force and violence, and by
intimidation, take and attempt to take from the person or presence of another, that is, B.G., an

officer from the Metropolitan Police Department, a thing of value, that is, a baton.

(Robbery, in violation of Title 18, United States Code, Section 21 11)

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COUNT SIX

On or about January 6, 2021, at or around 2:14 p.m., within the special maritime and
territorial jurisdiction of the United States, ROBERT MORSS, did by force and violence, and by
intimidation, take and attempt to take from the person or presence of another, that is, J.C., an

officer from the Metropolitan Police Department, a thing of value, that is, a fence.

(Robbery, in violation of Title 18, United States Code, Section 2111)

COUNT SEVEN

On or about January 6, 2021, at or around 2:25 p.m. to 2:32 p.m., within the District of
Columbia, GEOFFREY WILLIAM SILLS using a deadly or dangerous weapon, that is, a pole-
like object, did forcibly assault, resist, oppose, impede, intimidate, and interfere with an officer
and employee of the United States, and of any branch of the United States Government (including
any member of the uniformed services), and any person assisting such an officer and employee,
while such officer or employee was engaged in or on account of the performance of official duties,
and where the acts in violation of this section involve physical contact with the victim and the
intent to commit another felony.

(Assaulting, Resisting, or Impeding Certain Officers Using a Dangerous Weapon, in

violation of Title 18, United States Code, Sections 111(a)(1) and (b))

COUNT EIGHT

On or about January 6, 2021, at or around 2:32 p.m., within the District of Columbia,
GEOFFREY WILLIAM SILLS using a deadly or dangerous weapon, that is, a pole-like object,
did forcibly assault, resist, oppose, impede, intimidate, and interfere with an officer and employee

of the United States, and of any branch of the United States Government (including any member

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of the uniformed services), and any person assisting such an officer and employee, while such
officer or employee was engaged in or on account of the performance of official duties, and where
the acts in violation of this section involvephysical contact with the victim and the intentto commit
another felony.

(Assaulting, Resisting, or Impeding Certain Officers Using a Dangerous Weapon, in

violation of Title 18, United States Code, Sections 111(a)(1) and (b))

COUNT NINE

On or about January 6, 2021, at or around 2:33 p.m., within the District of Columbia,
ROBERT MORSS did forcibly assault, resist, oppose, impede, intimidate, and interfere with an
officer and employee of the United States, and of any branch of the United States Government
(including any member of the uniformed services), and any person assisting such an officer and
employee, while such officer or employee was engaged in and on account of the performance of
official duties, and where the acts in violation of this section involve physical contact with the
victim and the intent to commit another felony.

(Assaulting, Resisting, or Impeding Certain Officers and Aiding and Abetting, in

violation of Title 18, United States Code, Section 11 1(a)(1) and 2)

COUNT TEN

On or about January 6, 2021, at or around 2:34 p.m., within the District of Columbia,
CHRISTOPHER JOSEPH QUAGLIN did forcibly assault, resist, oppose, impede, intimidate,
and interfere with an officer and employee of the United States, and of any branch of the United
States Government (including any member of the uniformed services), and any person assisting
such an officer and employee, while such officer or employee was engaged in and on account of

the performance of official duties, and where the acts in violation of this section involve physical

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contact with the victim and the intent to commit another felony.

(Assaulting, Resisting, or Impeding Certain Officers and Aiding and Abetting, in
violation of Title 18, United States Code, Section 111(a)(1) and 2)

COUNT ELEVEN

On or about January 6, 2021, at or around 2:49 p.m. to 2:51 p.m., within the District of
Columbia, PATRICK E. MCCAUGHEY III and TRISTAN CHANDLER STEVENS did
forcibly assault, resist, oppose, impede, intimidate, and interfere with an officer and employee of
the United States, and of any branch of the United States Government (including any member of
the uniformed services), and any person assisting such an officer and employee, while such officer
or employee was engaged in and on account of the performance of official duties, and where the
acts in violation of this section involve physical contact with the victim and the intent to commit
another felony.

(Assaulting, Resisting, or Impeding Certain Officers and Aiding and Abetting, in
violation of Title 18, United States Code, Section 11 1(a)(1) and 2)

COUNT TWELVE

On or about January 6, 2021, at or around 2:52 p.m. to 2:53 p.m., within the District of
Columbia, GEOFFREY WILLIAMSILLS usinga deadly or dangerous weapon, thatis, a baton-
like object, did forcibly assault, resist, oppose, impede, intimidate, and interfere with an officer
and employee of the United States, and of any branch of the United States Government (including
any member of the uniformed services), and any person assisting such an officer and employee,
while such officer or employee was engaged in or on account of the performance of official duties,
that is V.B., an officer from the Metropolitan Police Department and where the acts in violation of
this section involve physical contact with the victim and the intent to commit another felony.

(Assaulting, Resisting, or Impeding Certain Officers Using a Dangerous Weapon, in
violation of Title 18, United States Code, Sections 11 1(a)(1) and (b))

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COUNT THIRTEEN

On or about January 6, 2021, at or around 2:56 p.m. to 2:58 p.m., within the District of
Columbia, TRISTAN CHANDLER STEVENS and DAVID LEE J UDD did forcibly assault,
resist, oppose, impede, intimidate, and interfere with an officer and employee of the United States,
and of any branch of the United States Government (including any member of the uniformed
services), and any personassisting such an officer and employee, while such officer or employee
was engaged in and on account of the performance of official duties, and where the acts in violation
of this section involve physical contact with the victim and the intent to commit another felony.

(Assaulting, Resisting, or Impeding Certain Officers and Aiding and Abetting, in
violation of Title 18, United States Code, Section 111(a)(1) and2)

COUNT FOURTEEN

On or about January 6, 2021, at or around 2:58 p.m. to 3:00 p.m., within the District of
Columbia, GEOFFREY WILLIAM SILLS usinga deadly or dangerous weapon, thatis, a baton-
like object, did forcibly assault, resist, oppose, impede, intimidate, and interfere with an officer
and employee of the United States, and of any branch of the United States Government (including
any member of the uniformed services), and any person assisting such an officer and employee,
while such officer or employee was engaged in or on account of the performance of official duties,
that is C.W., an officer from the Metropolitan Police Department and where the acts in violation
of this section involve physical contact with the victim and the intent to commit another felony.

(Assaulting, Resisting, or Impeding Certain Officers Using a Dangerous Weapon, in
violation of Title 18, United States Code, Sections 11 1(a)(1) and (b))
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COUNT FIFTEEN
On or about January 6, 2021, at or around 3:02 p.m. to 3:05 p.m., within the special
maritime and territorial jurisdiction of the United States, ROBERT MORSS, did by force and
violence, and by intimidation, take and attempt to take from the person or presence of another, that

is, P.N., an officer from the Metropolitan Police Department, a thing of value, that is, a shield.

(Robbery, in violation of Title 18, United States Code, Section 2111)

COUNT SIXTEEN

On or about January 6, 2021, at or around 3:03 p.m. to 3:11 p.m., within the District of
Columbia, TRISTAN CHANDLER STEVENS using a deadly or dangerous weapon, that is, a
shield, did forcibly assault, resist, oppose, impede, intimidate, and interfere with, an officer and
employee of the United States, and of any branch of the United States Government (including any
member of the uniformed services), that is, A.G., an officer from the United States Capitol Police
Department, while such officer or employee was engaged in or on account of the performance of
official duties and where the acts in violation of this section involve physical contact with the
victim and the intent to commit another felony.

(Assaulting, Resisting, or Impeding Certain Officers Using a Dangerous Weapon, in

violation of Title 18, United States Code, Sections 1 1 1(a)(1) and (b))

COUNT SEVENTEEN

On or about January 6, 2021, at or around 3:06 p.m. to 3:07 p.m., within the District of
Columbia, DAVID LEE JUDD using a deadly or dangerous weapon, that is, a firecracker, did
forcibly assault, resist, oppose, impede, intimidate, and interfere with, an officer and employee of

the United States, and of any branch of the United States Government (including any member of
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the uniformed services), and any person assisting such an officer and employee, while such officer
or employee was engaged in or on account of the performance of official duties and where the acts
in violation of this section involve physical contact with the victim and the intent to commit another
felony.

(Assaulting, Resisting, or Impeding Certain Officers Using a Dangerous Weapon, in

violation of Title 18, United States Code, Sections 11 1(a)(1) and (b))

COUNT EIGHTEEN

On or about January 6, 2021, at or around 3:06 p.m., within the District of Columbia,
CHRISTOPHER JOSEPH QUAGLIN, using a deadly or dangerous weapon, that is, OC spray,
did forcibly assault, resist, oppose, impede, intimidate, and interfere with an officer and employee
of the United States, and of any branch of the United States Government (including any member
of the uniformed services), and any person assisting such an officer and employee, that is, O.F.,
an officer from the Metropolitan Police Department, while such officer or employee was engaged
in or on account of the performance of official duties and where the acts in violation of this section
involve physical contact with the victim and the intent to commit another felony.

(Assaulting, Resisting, or Impeding Certain Officers Using a Dangerous Weapon, in
violation of Title 18, United States Code, Sections 11 1(a)(1) and (b))

COUNT NINETEEN
On or about January 6, 2021, at or around 3:06 p.m. to 3:15 p.m., within the District of
Columbia, PATRICK E. MCCAUGHEY III, using a deadly or dangerous weapon, that is, a
shield, did forcibly assault, resist, oppose, impede, intimidate, and interfere with an officer and
employee of the United States, and of any branch of the United States Government (including any

member of the uniformed services), and any person assisting such an officer and employee, that
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is, D.H., an officer from the Metropolitan Police Department, while such officer or employee was
engaged in or on account of the performance of official duties and where the acts in violation of
this section involve physical contact with the victim and the intent to commit another felony.

(Assaulting, Resisting, or Impeding Certain Officers Using a Dangerous Weapon, in
violation of Title 18, United States Code, Sections 1 1 1(a)(1) and (b))

COUNT TWENTY

On or about January 6, 2021, at or around 3:06 p.m. to 3:15 p.m., within the District of
Columbia, PATRICK E. MCCAUGHEY III, using a deadly or dangerous weapon, that is, a
shield, did forcibly assault, resist, oppose, impede, intimidate, and interfere with an officer and
employee of the United States, and of any branch of the United States Government (including any
member of the uniformed services), and any person assisting such an officer and employee, that
is, H.F., an officer from the Metropolitan Police Department, while such officer or employee was
engaged in or on account of the performance of official duties and where the acts in violation of
this section involve physical contact with the victim and the intent to commit another felony.

(Assaulting, Resisting, or Impeding Certain Officers Using a Dangerous Weapon, in
violation of Title 18, United States Code, Sections 1 11(a)(1) and (b))

COUNT TWENTY-ONE
On or about January 6, 2021, at or around 3:07 p.m. to 3:12 p.m., within the District of
Columbia, CHRISTOPHER JOSEPH QUAGLIN, using a deadly or dangerous weapon, that is,
a shield, did forcibly assault, resist, oppose, impede, intimidate, and interfere with an officer and
employee of the United States, and of any branch of the United States Government (including any
member of the uniformed services), and any person assisting such an officer and employee, while
such officer or employee was engaged in or on account of the performance of official duties and

where the acts in violation of this section involve physical contact with the victim and the intent

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to commit another felony.

(Assaulting, Resisting, or Impeding Certain Officers Using a Dangerous Weapon, in

violation of Title 18, United States Code, Sections 111(a)(1) and (b))

COUNT TWENTY-TWO

On or about January 6, 2021, at or around 3:07 p.m. to 3:14 p.m., within the District of
Columbia, ROBERT MORSS did forcibly assault, resist, oppose, impede, intimidate, and
interfere with an officer and employee of the United States, and of any branch of the United States
Government (including any member of the uniformed services), and any person assisting such an
officer and employee, while such officer or employee was engaged in and on account of the
performance of official duties, and where the acts in violation of this section involve physical
contact with the victim and the intent to commit another felony.

(Assaulting, Resisting, or Impeding Certain Officers and Aiding and Abetting, in

violation of Title 18, United States Code, Section 111(a)(1) and2)

COUNT TWENTY-THREE

On or about January 6, 2021, at or around 4:15 p.m. to 4:19 p.m., within the District of
Columbia, TRISTAN CHANDLER STEVENS and DAVID LEE JUDD did forcibly assault
resist, oppose, impede, intimidate, and interfere with an officer and employee of the United States,
and of any branch of the United States Government (including any member of the uniformed
services), and any person assisting such an officer and employee, while such officer or employee
was engaged in and on accountof the performance of official duties, and where the acts in violation
of this section involve physical contact with the victim and the intent to commit another felony.

(Assaulting, Resisting, or Impeding Certain Officers and Aiding and Abetting, in
violation of Title 18, United States Code, Section 111(a)(1) and2)

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COUNT TWENTY-FOUR
On or about January 6, 2021, within the District of Columbia and elsewhere, PATRICK
E. MCCAUGHEY Ill, TRISTAN CHANDLER STEVENS, DAVID LEE JUDD,
CHRISTOPHER JOSEPH QUAGLIN, ROBERT MORSS, and GEOFFREY WILLIAM
SILLS attempted to, and did, corruptly obstruct, influence, and impedean official proceeding, that
is, a proceeding before Congress, specifically, Congress’s certification of the Electoral College
vote as set out in the Twelfth Amendment of the Constitution of the United States and 3 U.S.C. §§
15-18.
(Obstruction of an Official Proceeding and Aiding and Abetting, in violation of Title
18, United States Code, Sections 1512(c)(2) and 2)
COUNT TWENTY-FIVE
On or about January 6, 2021, within the District of Columbia, PATRICK E.
MCCAUGHEY III, TRISTAN CHANDLER STEVENS, DAVID LEE JUDD,
CHRISTOPHER JOSEPH QUAGLIN, ROBERT MORSS, and GEOFFREY WILLIAM
SILLS committed and attempted to commit an act to obstruct, impede, and interfere with a law
enforcement officer, lawfully engaged in the lawful performance of his or her official duties
incidentto and during the commission ofa civil disorder, andthe civil disorder obstructed, delayed,
and adversely affected the conduct and performance of a federally protected function.

(Civil Disorder, in violation of Title 18, United States Code, Section 23 1(a)(3))

COUNT TWENTY-SIX

On or about January 6, 2021, in the District of Columbia, TRISTAN CHANDLER
STEVENS did knowingly, and with intent to impede and disrupt the orderly conduct of

Government business and official functions, engage in disorderly and disruptive conduct in and

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within such proximity to, a restricted building and grounds, that is, any posted, cordoned-off, and
otherwise restricted area within the United States Capitol and its grounds, where the Vice President
and Vice President-elect were temporarily visiting, when and so that such conduct did in fact
impede and disrupt the orderly conduct of Government business and official functions and, during
and in relation to the offense, did use and carry a deadly and dangerous weapon, that is, a shield.

(Disorderly and Disruptive Conduct in a Restricted Building or Grounds with a
Deadly or Dangerous Weapon, in violation of Title 18, United States Code, Section
1752(a)(2) and (b)(1)(A))

COUNT TWENTY-SEVEN

 

On or about January 6, 2021, in the District of Columbia, PATRICK E. MCCAUGHEY
III did knowingly, and with intent to impede and disrupt the orderly conduct of Government
business and official functions, engage in disorderly and disruptive conduct in and within such
proximity to, a restricted building and grounds, that is, any posted, cordoned-off, and otherwise
restricted area within the United States Capitol and its grounds, where the Vice President and Vice
President-elect were temporarily visiting, when and so that such conduct did in fact impede and
disrupt the orderly conduct of Government business and official functions and, during and in
relation to the offense, did use and carry a deadly and dangerous weapon, that is, a shield.

(Disorderly and Disruptive Conduct in a Restricted Building or Grounds with a
Deadly or Dangerous Weapon, in violation of Title 18, United States Code, Section
1752(a)(2) and (b)(1)(A))

COUNT TWENTY-EIGHT

 

On or about January 6, 2021, in the District of Columbia, DAVID LEE JUDD did
knowingly, and with intent to impede and disrupt the orderly conduct of Government business and
official functions, engage in disorderly and disruptive conduct in and within such proximity to, a

restricted building and grounds, that is, any posted, cordoned-off, and otherwise restricted area

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within the United States Capitol and its grounds, where the Vice President and Vice President-
elect were temporarily visiting, when and so that such conduct did in fact impede and disrupt the
orderly conduct of Government business and official functions and, during and in relation to the
offense, did use and carry a deadly and dangerous weapon, that is, a firecracker.

(Disorderly and Disruptive Conduct in a Restricted Building or Grounds with a

Deadly or Dangerous Weapon, in violation of Title 18, United States Code, Section

1752(a)(2) and (b)(1)(A))

COUNT TWENTY-NINE

On or about January 6, 2021, in the District of Columbia, CHRISTOPHER JOSEPH
QUAGLIN did knowingly, and with intent to impede and disrupt the orderly conduct of
Government business and official functions, engage in disorderly and disruptive conduct in and
within such proximity to, a restricted building and grounds, that is, any posted, cordoned-off, and
otherwise restricted area within the United States Capitol and its grounds, where the Vice President
and Vice President-elect were temporarily visiting, when and so that such conduct did in fact
impede and disrupt the orderly conduct of Government business and official functions and, during
and in relation to the offense, did use and carry a deadly and dangerous weapon, that is, OC spray
and a shield.

(Disorderly and Disruptive Conduct in a Restricted Building or Grounds with a

Deadly or Dangerous Weapon, in violation of Title 18, United States Code, Section

1752(a)(2) and (b)(1)(A))

COUNT THIRTY

On or about January 6, 2021, in the District of Columbia, GEOFFREY WILLIAM
SILLS did knowingly, and with intent to impede and disrupt the orderly conduct of Government
business and official functions, engage in disorderly and disruptive conduct in and within such

proximity to, a restricted building and grounds, that is, any posted, cordoned-off, and otherwise

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restricted area within the United States Capitol and its grounds, where the Vice President and Vice
President-elect were temporarily visiting, when and so that such conduct did in fact impede and
disrupt the orderly conduct of Government business and official functions and, during and in
relation to the offense, did use and carry a deadly and dangerous weapon, that is, a baton-like
object.

(Disorderly and Disruptive Conduct in a Restricted Building or Grounds with a

Deadly or Dangerous Weapon, in violation of Title 18, United States Code, Section

1752(a)(2) and (b)(1)(A))

COUNT THIRTY-ONE

On or about January 6, 2021, in the District of Columbia, TRISTAN CHANDLER
STEVENS did knowingly engage in any act of physical violence against any person and property
in a restricted buildingand grounds, thatis, any posted, cordoned-off, and otherwise restricted area
within the United States Capitol and its grounds, where the Vice President and Vice President-
elect were temporarily visitingand, during and in relation to the offense, did use and carry a deadly
and dangerous weapon, that is, a shield.

(Engaging in Physical Violence in a Restricted Building or Grounds with a Deadly or
Dangerous Weapon, in violation of Title 18, United States Code, Section 1752(a)(4) and

(b)(1)(A))
COUNT THIRTY-TWO
On or about January 6, 2021, in the District of Columbia, PATRICK E. MCCAUGHEY
III did knowingly engage in any act of physical violence against any person and property in a
restricted building and grounds, that is, any posted, cordoned-off, and otherwise restricted area
within the United States Capitol and its grounds, where the Vice President and Vice President-

elect were temporarily visitingand, during and in relation to the offense, did use and carry a deadly

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and dangerous weapon, that is, a shield.

(Engaging in Physical Violence in a Restricted Building or Grounds with a Deadly or
Dangerous Weapon, in violation of Title 18, United States Code, Section 1752(a)(4) and

(b)(1)(A))
COUNT THIRTY-THREE

On or about January 6, 2021, in the District of Columbia, DAVID LEE JUDD did
knowingly engage in any act of physical violence against any person and property ina restricted
building and grounds, that is, any posted, cordoned-off, and otherwise restricted area within the
United States Capitol and its grounds, where the Vice President and Vice President-elect were
temporarily visiting and, during and in relation to the offense, did use and carry a deadly and
dangerous weapon, that is, a firecracker.

(Engaging in Physical Violence in a Restricted Building or Grounds with a Deadly or
Dangerous Weapon, in violation of Title 18, United States Code, Section 1752(a)(4) and

(b)(1)(A))
COUNT THIRTY-FOUR

On or about January 6, 2021, in the District of Columbia, CHRISTOPHER JOSEPH
QUAGLIN did knowingly engage in any act of physical violence against any person and property
in a restricted buildingand grounds, thatis, any posted, cordoned-off, and otherwise restricted area
within the United States Capitol and its grounds, where the Vice President and Vice President-
elect were temporarily visitingand, during and in relation to the offense, did use and carry a deadly
and dangerous weapon, that is, OC spray and a shield.

(Engaging in Physical Violence in a Restricted Building or Grounds with a Deadly or
Dangerous Weapon, in violation of Title 18, United States Code, Section 1752(a)(4) and

(b)()(A))

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COUNT THIRTY-FIVE
On or about January 6, 2021, in the District of Columbia, GEOFFREY WILLIAM
SILLS did knowingly engage in any act of physical violence against any person and property in a
restricted building and grounds, that is, any posted, cordoned-off, and otherwise restricted area
within the United States Capitol and its grounds, where the Vice President and Vice President-
elect were temporarily visiting and, duringand in relation to the offense, did use and carry a deadly
and dangerous weapon, that is, a baton-like object.

(Engaging in Physical Violence in a Restricted Building or Grounds with a Deadly or
Dangerous Weapon, in violation of Title 18, United States Code, Section 1752(a)(4) and

(b)(1)(A))
COUNT THIRTY-SIX

On or about January 6, 2021, in the District of Columbia, PATRICK E. MCCAUGHEY
Ill, TRISTAN CHANDLER STEVENS, DAVID LEE JUDD, CHRISTOPHER JOSEPH
QUAGLIN, ROBERT MORSS, and GEOFFREY WILLIAM SILLS willfully and knowingly
engaged in disorderly and disruptive conduct in any of the Capitol Buildings with the intent to
impede, disrupt, and disturb the orderly conduct of a session of Congress and either House of
Congress, and the orderly conduct in that building of a hearing before or any deliberation of, a
committee of Congress or either House of Congress.

(Disorderly Conduct in a Capitol Building, in violation of Title 40, United States Code,
Section 5104(e)(2)(D))

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COUNT THIRTY-SEVEN
On or about January 6, 2021, in the District of Columbia, PATRICK E. MCCAUGHEY
Il, TRISTAN CHANDLER STEVENS, DAVID LEE JUDD, CHRISTOPHER JOSEPH
QUAGLIN, ROBERT MORSS, and GEOFFREY WILLIAM SILLS willfully and knowingly
engaged in an act of physical violence within the United States Capitol Grounds and any of the
Capitol Buildings.

(Act of Physical Violence in the Capitol Grounds or Buildings, in violation of Title 40,
United States Code, Section 5104(e)(2)(F))

A TRUE BILL:

FOREPERSON.

Youn DPkipss
Attorney.#f the Unitéd States in

and for the District of Columbia.

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